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- IN THE UNITED sTATEs DISTRICT CoURT
FoR THE EASTERN DISTRICT oF TEXAS
sHERMAN DIvIsIoN

zAcoooooiEFzs claim Number 1000087

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THERESA BoNERTz

10323 NE 136TH PL

KiRKLAND, wA 98034-2023
ELlZABETH ZACHARY,

On Behalf of Herself and
All Others Similarly Situated,

Plainfiffs, JURY TRIAL DEMANDED
vs. Case no.: 4116-cv-00754-ALM
CoBALT MoRTGAGE, INC.,

Defendant.

 

 

CONSENT TO BECOME A PARTY PLAINTIFF

I, the undersigned, whom Defendant(s) employed as a Processor, Senior Processor, and/or in another like
mortgage processing job, hereby consent to be a party plaintiff in this lawsuit (or, if due to unforeseen procedural
matters, any subsequent related suit), which is an action to recover unpaid wages including minimum wages
and/or overtime compensation not paid pursuant to the requirements of the Fair Labor Standards Act. By my
signature below, I designate the named Plaintiff(s) and their attorneys as my representatives to make decisions on
my behalf concerning the litigation, the manner and method of conducting this litigation, and decisions regarding
settlement, attorney’s fees and costs and all other matters pertaining to this lawsuit. I understand that while l
have the right to choose other counsel and to pursue my claims on my own behalf, I choose to be represented by
Class Counsel from the Rowdy Meeks Legal Group LLC, Lee & Braziel, L.L.P., and other attorneys with whom
they may associate.

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Full Name (Print Clearly) Signature Date Signed

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Email \_) `-\

 

